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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE

 SPIRE GLOBAL, INC.,                                  )
                       Plaintiff,                     )
                                                      )    C.A. No. 25-CV-168-___
       v.                                             )
 KPLER HOLDING SA,                                    )
                                                      )
                       Defendant.                     )

                        MOTION FOR ADMISSIONS PRO HAC VICE

       Pursuant to Local Rule 83.5 and the attached certification, the undersigned counsel moves

for the admissions pro hac vice of Jonathan K. Youngwood, Meredith Karp, Jacob Lundqvist, and

Nora C. Hood of Simpson Thacher & Bartlett LLP, 425 Lexington Avenue, New York, New York

10017, to represent Plaintiff Spire Global, Inc., in the above action.

                                                      FAEGRE DRINKER
OF COUNSEL:                                           BIDDLE & REATH LLP

Jonathan K. Youngwood                                  /s/ Oderah C. Nwaeze
Meredith Karp                                         Oderah C. Nwaeze (#5697)
Jacob Lundqvist                                       Angela Lam (#6431)
Nora C. Hood                                          222 Delaware Avenue, Suite 1410
SIMPSON THACHER &                                     Wilmington, Delaware 19801
BARTLETT LLP                                          (302) 467-4200
425 Lexington Avenue                                  oderah.nwaeze@faegredrinker.com
New York, NY 10017                                    angela.lam@faegredrinker.com
(212) 455-2000
                                                      Attorneys for Plaintiff
Dated: February 14, 2025

                                    ORDER GRANTING MOTION

       IT IS HEREBY ORDERED this _____ day of _______________, 2025, counsel’s Motion

for Admissions Pro Hac Vice is GRANTED.




                                                  [       ], United States District Judge


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         CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

       Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

admitted, practicing, and in good standing as a member of the bar of the States of New York,

Mississippi and California and, pursuant to Local Rule 83.6, submit to the disciplinary jurisdiction

of this Court for any alleged misconduct that occurs in the preparation or course of this action. I

also certify that I am generally familiar with this Court’s Local Rules. I also certify that the fee of

$50.00 has been paid to the Clerk of Court, or, if not paid previously, the fee payment will be

submitted to the Clerk’s Office upon the filing of this motion.


                                                        /s/ Jonathan K. Youngwood
                                                       Jonathan K. Youngwood
                                                       SIMPSON THACHER & BARTLETT LLP
                                                       425 Lexington Avenue
                                                       New York, NY 10017
                                                       (212) 455-2000
                                                       jyoungwood@stblaw.com

Dated: February 14, 2025




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upon the filing of this motion.


                                                       /s/ Meredith Karp
                                                      Meredith Karp
                                                      SIMPSON THACHER & BARTLETT LLP
                                                      425 Lexington Avenue
                                                      New York, NY 10017
                                                      (212) 455-2000
                                                      meredith.karp@stblaw.com

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upon the filing of this motion.


                                                       /s/ Jacob Lundqvist
                                                      Jacob Lundqvist
                                                      SIMPSON THACHER & BARTLETT LLP
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                                                      New York, NY 10017
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                                                      jacob.lundqvist@stblaw.com

Dated: February 14, 2025




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upon the filing of this motion.


                                                       /s/ Nora C. Hood
                                                      Nora C. Hood
                                                      SIMPSON THACHER & BARTLETT LLP
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                                                      New York, NY 10017
                                                      (212) 455-2000
                                                      nora.hood@stblaw.com

Dated: February 14, 2025




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